
Upon consideration of the petition filed by Defendant on the 16th of May 2019 in this matter for a writ of certiorari to review the order of the Superior Court, Robeson County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 20th of May 2019."
The following order has been entered on the motion filed on the 16th of May 2019 by Defendant to Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 20th of May 2019."
The following order has been entered on the motion filed on the 16th of May 2019 by Defendant to Appoint Counsel:
"Motion Dismissed as moot by order of the Court in conference, this the 20th of May 2019."
Upon consideration of the petition filed by Defendant on the 16th of May 2019 in this matter for a writ of mandamus, the following order was entered and is hereby certified to the Superior Court, Robeson County:
"Denied by order of the Court in conference, this the 20th of May 2019."
Davis, J. recused
